      Case 6:17-cv-06359-FPG-MWP Document 45 Filed 09/27/18 Page 1 of 1


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                                                               September 26, 2018


VIA ECF
Hon. Marian W. Payson
United States Magistrate Judge
2330 United States Courthouse
100 State Street
Rochester, New York 14614


       Re:     Scott v. City Of Rochester, et al., 17-CV-6359 (FPG)(MWP)

Dear Honorable Judge Payson:

        Please recall that I represent the Plaintiff, Septimus Scott, in the above matter. I write with
the consent of Defendants’ counsel to respectfully request a four-month extension of all deadlines
in the April 19, 2018 Discovery Order (Doc. No. 36), extending the current deadline for completion
of fact discovery from November 1, 2018 to March 1, 2019.

       This extension is necessary because, despite the parties each having served and responded
to various paper discovery, significant paper discovery remains outstanding that must be
completed prior to depositions. Moreover, your undersigned has been out of the office on family
bonding leave since last Friday, September 21, 2018, and as of that date, had not yet received
Defendants’ responses to Plaintiff’s Requests for Admission and related Interrogatories and
Requests for Production, served on September 6, 2018. Thus, Plaintiff is unable to file any
potential motion to compel related to this most recent set of discovery requests prior to the current
October 1, 2018 deadline.

       If this meets with the Court’s approval, I have included a “so ordered” line below.

                                                               Respectfully Submitted,


                                                                    ~//s//~
                                                               Elliot Dolby Shields

cc:            Patrick Beath (by electronic mail)


September ___, 2018
                                       So Ordered:             _________________
                                                               Hon. Marian W. Payson
